Case 5:18-cv-00908-JGB-SHK Document 1-1 Filed 04/30/18 Page 1of 35 Page ID #:10

EXHIBIT A
Case 5:18-cv-00908-JGB-SHK Document 1-1 Filed 04/30/18 Page 2 of 35 Page ID #:11

CT Corporation Service of Process
Transmittal
03/30/2018
CT Log Number 533065966

TO: Terri Kirschman
General Dynamics C4 Systems, Inc.
8201 E McDowell Rd, Md# H3250
Scottsdale, AZ 85257-3812

RE: Process Served in California

FOR: General Dynamics Mission Systems, Inc. (Domestic State: DE)

ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION: Marilyn English, Pltf. vs. General Dynamics Mission Systems, Inc., etc., et al., Dfts.
DOCUMENT(S) SERVED: Summons, Cover Sheet, Certificate, Notice, Complaint
COURT/AGENCY: San Bernardino County - Superior Court - San Bernardino, CA
Case # CIVDS1806907
NATURE OF ACTION: Termination in Violation of Public Policy
ON WHOM PROCESS WAS SERVED: C T Corporation System, Los Angeles, CA
DATE AND HOUR OF SERVICE: By Process Server on 03/30/2018 at 10:40
JURISDICTION SERVED : California
APPEARANCE OR ANSWER DUE: Within 30 days after service
ATTORNEY(S) / SENDER(S): Abraham Mathew
Mathew & George
500 South Grand Avenue
Suite 1490

Los Angeles, CA 90071
310-478-4349

ACTION ITEMS: SOP Papers with Transmittal, via UPS Next Day Air , 1ZX212780102704908
Image SOP
Email Notification, Douglas Cox douglas.cox@gd-ms.com
Email Notification, Annejanette Pickens annejanette.pickens@gd-ais.com

Email Notification, Terri Kirschman terri.kirschman@gd-ms.com

SIGNED: C T Corporation System

ADDRESS: 818 West Seventh Street
Los Angeles, CA 90017

TELEPHONE: 213-337-4615

Page 1 of 1/ RP

{Information displayed on this transmittal is for CT
Corporation's record keeping purposes only and is provided to
the recipient for quick reference. This information does not
constitute a legal opinion as to the nature of action, the
amount of damages, the answer date, or any information
contained in the documents themselves. Recipient is
responsible for interpreting said documents and for taking
appropriate action. Signatures on certified mail receipts
confirm receipt of package only, not contents.
Case 5:18-cv-00908-JGB-SHK Document 1-1 Filed 04/30/18 Page 3 of 35 Page ID #:12

J. Co 3- 30-¢F.
= 4 t . / 0 YO Ann /
' . SUM-100
Ss UMMON Ss . (5010 FARA USO DE ine CORTE
(CITACION JUDICIAL)
NOTICE TO DEFENDANT: FILED
VISO.AL.DEMANDADO): ___ SUPERIOR COURT OF CALIFORNIA
GENERAL DYNAMICS MISSION SYSTEMS, INC., a)Delaware COUNTY GF SAN BERNARDINO
corporation; and DOES | to 10, : 2
YOU ARE BEING SUED BY PLAINTIFF: MAR 3 2018
(LO ESTA DEMANDANDO El. DEMANDANTE):
MARILYN ENGLISH, BY 2
. ' UISETTE ORTEGA, DEPUTY

NOTICE! You have been sued. The court may decide against you without your being heard uniess you respond within 30 days. Read tha information

below. ‘

You hava 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
‘| served on the plaintiff, A letter or phone call will not protect you. Your ititten respanse must be In proper tegal farm if you want the court te hear your
case, There may be a court form that you can use for your response. You can find these court forms"and mare Information at the California Courts
Ontine Self-Help Centar (www.caurtinio.ca.gov/selihelp), your county law library, or the courthouse nearest you, If you cannot pay tha filing fee, ask
tha court clerk for a fee walver form. If you da not file your response on time, you may lose the case by default, and your wages, money, and property
may be taken without further warning from the court. *

There are olher legal requirements, You may want ta call an attomey right away. Ifyou da not know an attorney, you may want to call an attorney |
referral service. If you cannot efford an altomey, you may be eligible for free lagal services from a nanprofit legal services program. You can facate
these nonprofit groups at the California Lagal Services Web site (www lawhelpcalifomia.org), the Califamta Courts Online Self-Help Center
(www.courtinfa.ce.gowselihalp), of by contacting your local court or county bar aseaciation. NOTE: ‘The court has a statutory lien far waived fees and
costs on any satilement or arbitration award of $10,000 or more In a civil case, Tha court's flen must be pald before the court will dismiss the case.
Aviso te! han demandado, Sina responde dentro da 30 dias, fa corte puede decidir en su contra sin escucher su version. Laa ja informacién'a

Inu . . :

* Tiene 30 DIAS DE GALENDARIO después de qua fe entreguen esta citacién y papetes legales para presenter una respuesta por escrito en esta
torte y hacer qua se entregue una copia al demarndante, Una carta o una Jlamada tefafénica no fo protegen, Su respuesta por escrito ene que estar
en farmato legal correcto si desea que procesen su caso en la carte, Es posible que haya un formularié qua usted pueda usar para su respuesta,
Pueda encontrar estos formularios de la corte y més informacian en at Centro de Ayuda do las Cortes de California jvevew.sucorte.ca.gav), en 1a
biblioteca da leyes de su condada o en la corte que le queda mds cerca, S! no puede pagar la cuala da presentacién, pida al secrelario de fa cole
qua fe dé un formutario de exencién de pago de cuolas, Sino presenta su respuesta a tiempo, pueda perder ef caso por lncumplimianta y (a corte te
podrd quiter su sueido, dinero y bienos sin més advertencia. ‘

Hay otros requisites legales. Es recomendahle qua flame a un gbogedo Inmediatamente, Sino conece 8 un abogado, puede ilamar a un servicio da
_ | remisién a abogados, Sing puede pagar a un abogado, es posible que cumpia con los requisites para obtener servicios legalas gratuites de un
programa de servicios legates sin fines de iucro, Puede encontrar eslos grupos sin fines dé lucro en ef silio web de Califomia Legal Services,
(wwe lawhelpealifornia.org), en ef Centro da Ayuda de las Cortes de Califomia, (enw.sucorte.ca.gow) 0 poniéndose en contacto con la corte o ef
cofegio da ebogados locates. AVISO: Por ley, fa corte tlene derecho a reclamar las cuolas y los costes exentos por imponar un gravamen sabre
cuatquier recuperacién de $10,000 6 mds de valor racibida mediante un acuerdo o una concesién de arhilraje en un caso da derecho civil. Tiane que

begar ef gravamen de ia corta antes de que fa corte pueda desechar el caso.
The name and address of the court is: CASE NUMBER:
(El nombre y direccién de fa corte es): San Bernardino County Superior Court “oN OS’ 206907%

247 West Third Street

San Bernardino, California 92415

The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(El nombre, la direccién y ef ndmero de teiéfono del abogado del demandante, 0 del demandante que no tiene abogado, es):

Sang J Park, Mathew & George, 500 S. Grand. Ave., Ste. 1490, Los Angeles, CA 90071, (310) 478-4349

. MAR 238 2018

DATE: Clerk, by , Deputy
(Fecha) {Secretario) Lisette Ortega (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010),)

(Para prueba de entrega de esta citatién use el formulario Proof of Service of Summons, (POS-010)).
NOTICE TO THE PERSON SERVED: You are served ,

(Seay . 4. CC] as an individual defendant.
2. [J as the person sued under the. flotitiaus name of (specify):

3, CJ on behalf of (spacify):

GO py under; [] CCP 416.10 (corporation). ([T]. COP 416.60 (minor)
{7} CCP 416.20 (defunct corporation) " ((_] CCP 416,70 (conservatee)

(] CCP 416.40 (association or partnership) (—] CCP 416.90 (authorized person)

(_} other (specify): .
4. (] by personat delivery on (date):
Page dof?
Fe cea SUMMONS (Code af Civil Procaduro §§ 412.20. <85
wow,courlinig.ca.gov

Adopted i
dudielal Cound) of California
SUM-100 [Rov. fuly 1, 2009]

Seems see nas
Case 5:18-cv-00908-JGB-SHK Document 1-1 Filed 04/30/18 Page 4 of 35 Page ID #:13

' pea . .
CM-010
aaah fark SBN 2956 (Name, Stoto Gar momber, and address): FORGOURTUSEONLY *
500 South Grand Avenue, Suite 1490 FILeo .
0 rand Avenue, Suite .
Los Angeles, California 90071 - [> SUPERIOR COURT OF CALIFORNIA
teverHone NO: 310-478-4349 _, Faxnos 310-478-9580 SAN BERNARDINO DISTRICT
ATTORNEY FOR udamey. Plaintiff Marilyn English .

[SUPERIOR COURT OF CALIFORNIA, COUNTY OF San Bernardino MAR 2 3 2018

stneer pores: 247 West Third Street
+ MAILING ADDRESS: .
cvaxozecose: San Bernardino 92415 py At Birae

LUSETTE ORTEGA, DEPUTY

BRANCH NAME:
CASE NAME:
Marilyn English vy. General Dynamics Mission Systems, Inc. _ _
CIVIL CASE COVER SHEET _ Complex Case Designation CASE NUMBER
. 4 remount d CI (amunt CI Counter CJ Joinder CINDS’ 306907
SUDGE:
demanded demanded is Filed with first appearance by defendant
exceeds $25,000) $25,000 or less} (Cal. Rules of Court, rule 3.402) DEPT:

items 1-6 below must be completed (see instructions on page 2).

1. Check one box below for the case type that best describes this case:
Auto Tort Contract Provislonally Complex Civil Litigation

(__] preach of contractwwarranty (08) (Cal. Rutes of Court, rutos 3.400-3.403)

Auto (22) i
Uninsured motorist (46) (_] Rute 3.740 collections (09) ‘  _C_] Antirust/Trade regulation (03)
Other PI/PDWD (Porsonal injury/Proparty Other collectlons (09) {-] Construction defact (10)
DamageMrongful Death} Tort insurance coverage (18) 2} sass tort (40
Asbastas (04) (J other contract (37) Securities litigation (28)
Produnt fablilly (24) , Real Property * (72) EnvtranmentatrToxic tort (30)
Medical malpractice (45) (J Eminent comaininverse (7) insurance coverage clalms arising from the
CJ other puPDAwo (23) condemnation (14) . above listed provisionally complex case
Non-PUPDIWO (Other) Tort CJ] Wrongft eviction (33) types (41)
Bustnass tortfunfatr business practice (07) L-] other reat property (26) Enforcement of Judgment
Civil rights (08) Untawful Ootainer, [7] enforcement of Judgment (20)
Defamation (13) CJ Commarciat (31) *, Miseollanoous Civil Complaint
L_] Fraud (18) [_} Residential (32) _] rico a7
Intellectual property (19) £71 rugs (38) . , [_} oiner comptaint (not specified above) (42)
Professional negligence (25) - dudictal Review Miscollaneous Civil Potition
Cj Other non-PI/PD/WD tart (35) CJ , Asset forfeltura (05) CJ Partnership and corporate governance (21)
Employment (J Petition re: arbtiration award (11) (} otner petition (act specified above} (43)
Wrongful termination (36) [_} writ of mandate (02)
_ | Other empl (15) Other Judicial review (39)
2. This case is isnot complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the

factors requiring exceptionat judicial management: -
‘a. C_J Large number of separately represented parties d. CJ} arge number of witnesses
b. C) Extensive motion practice ralsing difficultornovel e. CI Coordination with related actions pending in one or more courts
issues that will be time-consuming ta resolve in other countias, states, or countries, or In a federat court

CG. CI Substantial amount of documentary evidence t, C_] substantial postjudgment judicial supervision

3. Remedies sought (check aiff that apply): al] monetary of] nonmonetary, declaratory oF injunctive ralief —&. (7 ]punttive

4. Number of causes of action (specify): Nine
thiscasee Cis (ZJisnot aciass action suit.

§.
6. ifthere are any known related cases, file and serve a notice of related case fYou may use fo 15.)

Date: March 22, 2018
Sang J Park, SBN 232956 . >

QYPE OR PRINT NAME} {SIGNA’ OF PARTY OR ATTORNGY FOR PARTY)

. NOTICE \

» Plaintiff must file this cover sheet with the first paper filed In the action or proceeding (except small claims cases or cases filed
under tha Probate Code, Family Code, or Welfare and fnstitutions Code). (Cal. Rules of Court, rule 3,220.) Failure to file may result
in sanctions. ‘ ‘

® Fite this cover sheet In addition to any caver sheet required by focal court rule.

* If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all

other parties to the action or proceeding.
« Untess this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only, stot

Foam Agen a Manto so CIVIL CASE COVER SHEET Te ia a aR STR

Council of Caifamic
CH.010 {Rev, July %, 2007) www.coutinogagay
Case 5:18-cv-00908-JGB-SHK Document 1-1 Filed 04/30/18 Page 5 of 35 Page ID #:14

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SUPERIOR COURT. OF CALIFORNIA, COUNTY OF SAN BERNARDINO
CIN DS1 BH96907

‘Marilyn English . CASE NO.:
CERTIFICATE OF ASSIGNMENT

__ VS.

General Dynamics Mission Systems, inc.

A civil action or proceeding presented for filing must be accompanied by this Certificate. If the ground is the
residence of a party, name and residence shall be stated.

The undersigned declares that the above-entitied matter is filed for proceedings in the

San Bemardino . District, of the Superior Court under Rule 404 of this court for the
checked reason: . .
(i General. C] Collection

0 Nature of Action Ground
C] 1. Adoption Petitioner resides within the district
C1 2. Conservator Petitioner or conservatee resides within the district.

[] 3. Contract Performance in the district is expressly provided for.
LJ 4. Equity The cause of action arose within the district.

[1 5. Eminent Domain The property is located within the district.

*(] 6. Family Law - Plaintiff, defendant, petitioner or respondent resides within the. district.
Cl 7. Guardianship Petitioner or ward resides within the district ar has property within the district.
[] 8. Harassment Plaintiff, defendant, petitioner or respondent resides within the district.
Cj 9. Mandate The defendant functions wholly within the district.

[} 10.Name Change ° The petitioner resides within the district.

(] 11. Personal Injury . __* The injury occurred within the district.

Ey 12. Personal Property The property is located within the district.
13. Probate Oecedent resided or resides within the district or had property within the

: district.

[1 14. Prohibition The defendant functions wholly within the district.

L] 15. Review The defendant functions wholly within the district.

4 16. Title to Real Property The property is located within the district.
17. Transferred Action The tower court is located within the district.

£.] 18. Untawfut Detainer The property is located within the district.

i 19, Domestic Violence The petitioner, defendant, plaintiff or respondent resides within the district.
26. Other

fk] 21. THIS FILING WOULD NORMALLY FALL WITHIN JURISDICTION OF SUPERIOR COURT

The’ address of the accident, performance, party, detention, place of business, or other factor which qualifies

this case for filing in the above-designed district is:
13782 Bear Vallay Rd.*

Marilyn English

NAME ~ INDICATE TITLE OR OTHER QUALIFYING FACTOR ADDRESS” *

Victorville . CA . . 92392

ciry < STATE wP CODE
i declare, under penalty of perjury. that the foregoing is true and on ang Sat that this declaration was executed
on March 22, 2018 at bos Angeles A ) oN

’ Satie ofAtiomayPary
i
CERTIFICATE OF ASSIGNMENT

13-16503-360, Rev 06-2014
Case 5:18-cv-00908-JGB-SHK Document 1-1 Filed 04/30/18 Page 6 of 35 Page ID #:15

SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN BERNARDINO

San Bernardino District - Civil
247 West Third Street

San Bernardino, CA. 924150210

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CASE NO: CIVDS1806907

MATHEW & GEORGE
500 S GRAND AV
STE 1490

LOS ANGELES CA 90071
NOTICE OF TRIAL SETTING CONFERENCE

IN RE: ENGLISH VS GENERAL DYNAMICS MISSION SYSTEMS

THIS CASE HAS BEEN ASSIGNED TO: DONNA GUNNELL GARZA IN DEPARTMENT S24
FOR ALL PURPOSES. ’

‘Notice is hereby given that the above-entitled case has been set for
Trial Setting Conference at the court located at 247 WEST THIRD STREET

SAN BERNARDINO, CA 92415-0210.
HEARING DATE; -09/26/18 at 8:30 in'Dept. S24

DATE: 03/23/18 Nancy Eberhardt, Court Executive Officer
. By: LISETTE ORTEGA

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CERTIFICATE OF SERVICE

I am a Deputy Clerk of the Superior Court for the County of San
Bernardino at the above listed address. I am not a party to this
action and on the.date and place shown below, I served a copy of the
above listed notice:
( ) Enclosed in a sealed envelope mailed to the interested party
addressed above, for collection and mailing this date, following
standard Court practices.
{( ) Enclosed in a sealed envelope, first class postage prepaid in the
U.S. mail at the location shown above, mailed to the interested party
and addressed as shown above, or as shown on the attached listing.
OTR copy of this notice was given to the filing party at the counter
( ) A copy of this notice was placed in the bin located at this. office
and identified as the location for the above law firm's collection of

file stamped documents.

Date of Mailing: 03/23/18
Y declare under penalty of perjury that the foregoing is true and

correct. Executed on 03/23/18 at San Bernardino, CA
BY: LISETTE ORTEGA

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MATHEW & GEORGE
$00 SouTH GRAND AVENUE, SurTE 1490

Case 5:18-cv-00908-JGB-SHK Document 1-1 Filed 04/30/18 Page 7 of 35 Page ID #:16

Los ANGELES, CALIFORNIA 90071

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ABRAHAM MATHEW, SBN 181110
abraham@mathewandgeorge.com
JACOB GEORGE, SBN 213612
jacob@mathewandgeorge.com
SANG J PARK, SBN 232956
sans athewandgeorge.com

W & GEORGE
500 South Grand Avenue, Suite 1490
Los Angeles, California 90071
Telephone: (310) 478-4349 .
Fax: 10) 478-9580.

Attomeys for Plaintiff

SUPERIOR COURT OF THE STATE OF CALIFORNIA
, FOR THE COUNTY OF SAN BERNARDINO

MARILYN ENGLISH,
Plaintiff,
VSB 2.
GENERAL DYNAMICS MISSION
SYSTEMS, INC., a Delaware corporation;
and DOES | to 10,

Defendants.

JARDINO
SAN BERNARDING BistRICT

MAR 2 3 2018

FILE
SUPERIOR cau OF Buran
COUNTY OF SAN

‘-

LISETTE ORTEGA, DEPUTY

Case No.:
CTINDS1 806907
COMPLAINT
(1) Age Discrimination;
(2) Race Discrimination;
(3) Gender Discrimination;
(4) Failure to Prevent Discrimination;
(5) Hostile Work Environment Harassment;
(6) Wrongful Termination in Violation of
Public Policy;
(7) Wrongful Termination in Violation of
FEHA;,
(8) Retaliation & Wrongful Termination in
Violation of Lab. Code § 1102.5;
(9) - Violation of Lab. Code § 1197. 5
(Equal Pay Act)

DEMAND FOR JURY TRIAL

COMPLAINT

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Case 5:18-cv-00908-JGB-SHK Document 1-1 Filed 04/30/18 Page 8 of 35 Page ID #:17

Los ANGELES, CaLirornia 90071

MarHew & GEORGE
$00 Sours GRAND AVENUE, Surte 1490

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JURISDICTION

1 The California Superior Court has jurisdiction over this action pursuant to

California Constitution Article VI § 10, which grants the Superior Court “original jurisdiction in *
all causes except those given by statute to other trial courts.” The Statutes under which this

action is brought do not specify any other basis for jurisdiction.
2. The California Superior Court has jurisdiction over Defendants because each i isa

corporation and/or entity and/or person that has sufficient minimum contacts in California, each
is a citizen of California, or each otherwise purposely availed itself of the California market so
as to render the exercise of jurisdiction over it by the California courts consistent with
traditional notions of fair play and substantial justice.
ARTIES AND VE

3.‘ Plaintiff is, and at all relevant times was, a citizen and resident of the State of
California, County of San Bemardino.

4, - Defendant General Dynamics Mission Systems, Inc. is, and at all relevant times
was, a Delaware company conducting business in California..
5. Plaintiff is informed and believes, and thereon alleges, that at the time of the
wrorigful conduct alleged herein, and continuing, that Defendant met the definition of
“employer” set forth at Government Code § 12926(d) (requiring five or more employees) for
liability under the California Fair Employment and Housing Act (“FEHA”).

6. The true names and capacities, whether corporate, associate, individual, or

| otherwise of Defendants DOES 1 to'10, inclusive, are unknown to Plaintiff, who therefore sues,

said Defendants by such fictitious names pursuant to Cal. Civ. P. § 474.
7. Each Defendant designated es a DOE is negligently or otherwise legally

responsible in some manner for the events and happenings herein referred, and caused injuries

and damages proximately to Plaintiff. Plaintiff will ask leave of Court to amend this Complaint

to show their true names and capacities when the same have been ascertained.

”

Page |

COMPLAINT

Case 5:18-cv-00908-JGB-SHK Document 1-1 Filed 04/30/18 Page 9 of 35 Page ID #:18

. MATHEW & GEORGE .
$00 SourH GRAND AVENUE, SUITE 1490

_LOS ANGELES, CALIFORNIA 90071

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ea SREP RR RES ESE

JOINT. L

8. Unless otherwise indicated herein, each Defendant herein sued is the agent, co-

conspirator, joint venture, general employer, special employer, dual employer, partner, and/or .

.employee of every other Defendant and, as alleged, has been acting within the course and scope

of said agency, conspiracy, joint venture, dual employment, joint employment, partnership,
and/or employment with the knowledge and/or consent of co-Defendants, and each of them.
9, Plaintiff is informed and believes, and thereon alleges, that each Defendant has
authorized and/or ratified the wrongful activities of-each of the remaining Defendants.
‘LIABIL P VEDAMAGES |

10. Defendants’ conduct, as described herein, was malicious, fraudulent, oppressive,

‘mean, vile, despicable, and in conscious disregard of Plaintiff's rights and was undertaken by its

officers, directors, and/or managing agents, and/or pursuant to policies and procedures adopted ~

:by its officers, directors, and/or managing agents as those terms are used in Cal. Civ. Code §§
3294 and 3295 for purposes of establishing corporate liability for punitive damages.

11. Further Defendants had advance knowledge of the malicious, fraudulent, and/or

| oppressive activities of the individual perpétrators whose actions and conduct were authorized,

‘approved, and/or ratified by Defendants’ directors, officers, and/or managing agents.

FACTS
12, Defendants employed Plaintiff as a Technical Instructor from October 28, 2009
to January 2, 2018.
_ Defendants pay Plaintiff less because she is an older black woman

13. . Plaintiffis a 55 year old black woman. ,
14, Asa Technical Instructor, Plaintiff trained the United States Army on the use and

operation of various communication systems, including networking equipment, manufactured *

and sold by General Dynamics Mission Systems, Inc. (“General Dynamics”). Defendants

required Plaintiff to travel to various military bases to conduct her training.

Page 2

COMPLAINT

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" Matew & Georce
500 SOUTH GRAND AvEnvE, Surre 1490

LOS ANGELES, CALIFORNIA 90071

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15. Plaintiff performed well during her tenure, Just two months prior to-her
termination. notice, Plaintiff received an “Excellence Award” for her “exceptional performance
and corimitment to Operational & People Excellence:”

_..Your contribution to uphold our ethos, mission and vision at General Dynamics

Mission Systems is appreciated and recognized, Thank you for your continued service

and dedication.” ,

° 16. Not surprisingly Plaintiff quickly became a “Lead.” Defendants first introduce
Lead Technical Instnictors (“LTI”) on General Dynamics’ newest products, and, in turn, the
LTIs train other Technical Instructors on the newer products at-various military bases. ,

17. . Defendants grouped their LTIs into teams. The teams trained together on the use
of General Dynamics new products, and they travelled together to their assigned military base:

18. Each team member took tums as the “lead” trainer on the newer products.

19, ‘Plaintif®'s team consisted of five to ten other Technical Instructors—all white
men in their mid-to-late 20s. Plaintiff was the only black woman on the team.

20. | Plaintiff soon leamed that Defendants paid her less than her team members.

a. Defendants started Plaintiff at $45,000, but paid her younger white co-

‘workers $10,000 more at $55,000.

b. Asa LTI, Plaintiff performed managerial duties, or Defendants’ “E-34”
classification level. But Defendants paid Plaintiff at a lower “E-31” classification level—a

difference of nearly $20,000.
21. = Plaintiff complained to Defendants about-the glaring pay disparity. Defendants

admitted to it and gave a bogus explanation: Plaintiff's younger white male teammates were all °

ex-military members whose experience warranted higher pay. , .
22. Defendants’ explanation was false because General Dynamics’ products were

off-the-self commercial equipment that did riot require any prior military experience.
_ 23. . Regardless, in 2016—and only after repeated complaints about pay inequity—
Defendants agreed to pay Plaintiff at the “E-32” classification level—while Defendants required

| her to continue working as a “E-34.”

Page 3

COMPLAINT

"+ MATHEW& GEORGE
500 SOUTH GRAND AVENUE, SUITE 1490

Case 5:18-cv-00908-JGB-SHK Document 1-1 Filed 04/30/18 Page 11 of 35 Page ID #:20

LOS ANGELES, CALJFORNIA 90071

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24. All the while Plaintiff's younger while male teammates were paid at “E-34.”.

“Fuck you bitch:” Defendants maintain a hostile work environment against Plaintiff :

-25: In February 2017 Defendants assigned Plaintiff to Fort Carson.
26. * Plaintif’s team included Mike Erb, Joe Stinson, Warren Grubs, and Roland
Phillips, Mr. Erb and Mr. Stinson were the team “lead” and “2" lead,” respectively.
27. From the moment Plaintiff arrived at Fort Carson, Plaintiff was subjected to
discrimination and hostile work environment harassment based on her age, race and gender:

a.” Plaintiff's white male team members refused to work with Plaintiff or

train her in the new system.
b. Plaintiff was criticized for “asking too many questions} of told to “go ask

someone else” o or call her supervisor.

c. Team leads refused to include Plaintiff in n the scheduling of the training .
‘sessions, including meal and rest periods. , me

d. , Plaintiff was falsely accused of being late to training si sessions and

chasised for asking if she was free to go after the sessions were completed.

e. . Team-leaders refused to pass onto Plaintiff the most up-to-date

| information they received on the new system.

f. Instead team leaders inexplicably ‘trained another non-team member,
Mike Woods, on the new system. Rather than bringing Plaintiff and Roland: -Phillips—a black
male—up to date on the new system so Plaintiff could, in turn, train the Anny, Mr. Erb and

‘Mr. Stinson engaged in one.on one training with Mr. Woods.

’ pf When Plaintiff had trouble with a program on her laptop, team leaders

criticized her and accused her of “not knowing what she was doing.”
i. Eventually, when one of the team leaders attempted to run‘the

‘same program, he found a flaw in the software. But Plaintiff did not receive any apology or

explanation on how to fix it.
28. Plaintiff complained to-the team leads and team members that she was not

| receiving the proper training on the new products to do her job. In response, Warren Grubs

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called Plaintiff a “bitch,” and as Plaintiff walked past him in a training room, Mr. Grubs openly"
told Plaintiff “Fuck you bitch!” .

29, Another non-team: ‘member employee, “Dusty,” was in the room and heard-the
epithet. Dusty quickly turned to Mr. Grubs and confronted him: “‘Why are you talking to her like

that?” Mr. Grubs did not respond.

30. Plaintiff complained to her Supervisor, Todd Haibach, about the “bitch” incident,
Mr. Haibach just brushed it aside and told Plaintiff that Mr. Grubs was “probably joking.”
31. Eventually Plaintiff was paired with Mr. Phillips, who himself did not have ariy
meaningful-tasks. Mr. Phillips sat in a ‘truck, not doing anything.
a Plaintiff later heard Mr. Erb boast that he now had “everyone doing what
they’re good at”—suggésting that Plaintiff was not good at doing anything.
“Fucking nigger:” Defendants maintain a-hostilé work environment against Plaintiff ~
“32. On a Saturday, in February 2017, Plaintiff stepped out to the smoking area for a

cigarette. Mr. Erb and Mr. Stinson were in the area also smoking cigarettes. When they saw

Plaintiff, Mr. Stinson—referring to Plaintiff—loudly said, “Fucking Nigger!”

33. Mr, Erb immediately approached Plaintiff and disingenuously and foolishly told
Plaintiff that they “were not talking about her,” and she should not be offended.

34. Plaintiff fled to the nearest bathroom and began to cry.

35. There, Plaintiff's co-worker, Donna Johnson, saw her crying and tried:to help.
After hearing what just happened, Ms. Johnson encouraged Plaintiff to report the incident.

36. Plaintiff first reported the hate incident to her Supervisor, Mr. ‘Haibach, and told
Mr. Haibach about her intention to lodge a formal complaint. In response, Mr. Haibach—in a
misguided attempt to dissuade her—threatened Plaintiff that “once {she] opens up this can of

worms, [she] can’t close it.” And he repeatedly asked Plaintiff, “are you sure about this?”

37. Plaintiff formally complained about the hate incident to Defendant's HR °

Manager, Scott Yawn, and Tom Washer.
38. Mr. Haibach’s manager, Laurie Umberger, told Plaintiff to take the rest of the

week off while Defendants investigated her complaints.
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39. After their “investigation,” Defendants did the following: they expressed regret

over the incident and told Plaintiff that Mr. Erb—the team lead—had promised to “be better.” .

40. Then Defendants decided that Plaintiff was the problem and decided to transfer
her out of Fort Carson to Massachusetts for “another training.”

At. Plaintiff was hoping to receive the same ‘training on General Dynamics’ new ° .”
system that Erb, Stinson and Grub had received and return to the field.

42," When Plaintiff arrived in Massachusetts, she did not find any ‘other training.

Instead Defendants relegated Plaintiff to do busy paperwork for months on end.

Defendants terminate Plaintiff because shé again blows the whistle
43. _ In September 2017 Defendants shipped Plaintiff to Taiwan for a project.
44. - Plaintiff's teammate, Mike Hanslic; informed Plaintiff that another employee,

“John,” shared with him what appeared to be child pomography.

45. Plaintiff immediately reported “John” to Defendants’ ethics hotline.

46. Plaintiff returned to California in mid-October 2017.

47. And in mid-December 2017, Defendants suddenly terminated Plaintiff.

. 48. Defendants terminated Plaintiff because of her age, gender, race, and her

complaints about Defendants and their employees’ unlawful acts.

49. Plaintiff has exhausted her administrative remedies pursuant to Govt. Code §§
12960 and 12965(b) by timely filing an administrative complaint with the Department of Fair
Employment & Housing and receiving a Right to Sue Ietter within one year of filing of lawsuit.

‘FIRST.CAUSE OF ACTION
Age Discrimination

> Plaintiff against all Defeidants)
"50. Plaintiff incorporates all paragraphs above as though fully set forth herein.
51.  Atall-times herein mentioned, Califomia Government Code §§ 12940 et seq. was

in full force and effect and were binding on Defendants as Defendants regularly employed five ,

(5) or more persons. Plaintiff was at all times material hereto an. employee covered by

California Government Code § 12940(a) prohibiting discrimination in employment on the basis

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COMPLAINT

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of age. Defendants were and are at all times material hereto an employer within the.meaning of

California Government Code § 12926(d), and as such were barred from discriminating in

employment decisions on the basis of age as set forth in California Government Code § 12940. -
52. . "On December 14, 2017, effective January 2, 2018, after nearly 10 years of

service, Defendants terminated Plaintiff. Plaintiff was performing her job well at the time of her

termination. As detailed above, Defendants discriminated against Plaintiff because of her age. °

"53.  Atthe time of Plaintiff's termination Plaintiff was over the agé of 40 and is a
meniber of a protected class. Plaintiff is informed and believes that Defendants replaced her
with a younger employes with equal or inferior qualifications despite Plaintiff's exemplary
performance, . .

54. Although Plaintiff was well auilificd for her position based, on her near 10 yeais
of éxperience with Defendants and should have, been retained, Defendants terminated Plaintiff.
because of her age. . .

§5. Asa proximate result of Defendants’ discriminatory acts, Plaintiff has suffered ..
actual, consequential and incidental financial losses, including without limitation, loss of salary
and benefits, and the intangible loss of employment related opportunities in her fi eld and
damage to her professional reputation, ail in an amount subject to proof at the time of trial.
Plaintiff claims such amounts as damages pursuant to Civil Code § 3287 and/or § 3288 and/or
any other provision’ of law providing for prejudgment ‘interest. ‘

56. Asa proximate result of Defendants’ discriminatory acts, Plaintiff has suffered
and.continues to suffer emotional distress, humiliation, mental anguish and embarrassment, as

well as the manifestation of physical symptoms. Plaintiff is informed and believes and

"thereupon alleges that she will continue to experience said | physical and emotional suffering for

a period i in the future, all in an amount subject to proof at the time of trial.

57. Asa proximate result of Defendants’, discriminatory acts, Plaintiff has been
forced to hire attorneys to prosecute her claims herein, and has incurred and is expected to
continue to incur attorneys’ fees and costs in connection therewith. Plaintiff is entitled to

recover attorneys’ fees and costs under California Government Code §-12965(b).
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COMPLAINT

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58. Defendants’ outrageous conduct was fraudulent, malicious, oppressive, and done.
in wanton disregard for the rights of Plaintiff and the rights and duties owed by Defendants to
plaintiff Rach Defendant aided, abetted, participated in, authorized, ratified, and/or conspired
to engage in the wrongful conduct alleged above. Plaintiff should therefore be awarded
exemplary and punitive damages against each Defendant in the amount to be established that is

‘appropriate to punish each Defendant and deter others from such conduct.

ECOND CAUSE OF ACTIO

Race Discrimination
Plaintitt against all Defendants)
59. Plaintiff incorporates all paragraphs above as though fully set forth herein.
60. Plaintiff was an employee, protected by Govt. Code §§ 12940(a), which prohibits
discrimination in employment on the basis of race. .
. 61. Defendants were “employers” within the meaning of Govt. Code § 12926, and as
such, were prohibited from discriminating in regard to terms, conditions, or privileges of

employmen , including terminations on the basis of race.
62.: Plaintiff was subjected to ) disparate treatment and disparate impact by Defendants

because of her race, as discussed above, in violation of Govt. Code § 12940(a).

63. Despite Defendants’ actual and/or constructive knowledge of the above
mentioned harassment and discrimination, and with the knowledge of its supervisors and agents,
they failed to take immediate and appropriate corrective action to stop the discrimination.

64. Under Govt. Code § 12940(a), Defendants, at the time of the wrongful conduct
ageinst Plaintiff described herein, knew that it was an “unlawful employment practice,” against
the law and a disregard for Plaintiff's rights, “because of the race, religious creed, color,

national origin, ancestry, physical disability, mental disability, medical condition, marital status,

| sex, gender, age, or sexual orientation of any person,” to:

(a) ... [Refuse to hire or employ the person or to refuse to select the person

for a training program leading to'employment;” or
(b) “,.+ [Bar or to discharge the person from employment or from a training
Page 8

COMPLAINT

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program: leading to employment, or
‘(c) —_“... [Discriminate against the person in compensation or in terms,
. “Gonditions, or privileges of employmeiit.”
65. Under Govt. Code § 12940(k), Defendants, and each of them, at the
time of the wrongful conduct against Plaintiff described herein, knew that it was an“‘unlawful
employment practice,” against the law and a disregard for Plaintiff's rights “for an employer...

to fail to take all reasonable steps necessary to prevent discrimination and harassment from’

occurring.” .
66. . Defendants, with malice, oppression, and fraud and in conscious disregard for

Plaintiff's rights under the law, violated the Fair Employment and Housing Act (“FEHA”) by
discriminating against Plaintiff as set forth throughout this Complaint.
67.° Asaresult of Defendants’ malicious, oppressive, fraudulent, and despicable

| violations of FEHA as set forth herein, Plaintiff has suffered and continues to suffer general and _

special damages, and the need for punitive damages.
68. Pursuant to Govt. Code, § 12965(b) and Cal. Civ. P. § 1021.5, Plaintiff is entitled

to the costs of hiring an attorney to pursue recovery for Defendants’ multiple violations of law
as s set forth i in this complaint and for the litigation costs attendant in prosecuting this lawsuit.
69. The wrongful conduct of Defendants described above was intended by

| Defendants, and each of them, to cause injury to Plaintiff and was despicable, mean, and vile

conduct carried on by Defendants, and each of them, with a willful and’conscious disregard of
the rights of Plaintiff, subjecting her to cruel and unjust hardship, and was an intentional
misrepresentation and concealment of material facts known to, Defendants with the intent to
deprive Plaintiff of property, legal rights, or to otherwise cause injury, such as to constitute .

malicé; oppression, and/or fraud under Civil Code § 3294, thereby entitling Plaintiff to punitive
|| damages in an amount sufficient to punish the Defendants or to make an example of Defendants

to prevent such conduct by others.

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COMPLAINT

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THIRD CAUSE O IO
Gender Discrimination
. Plaintiff against all Defendants)
70. Plaintiff incorporates all paragraphs above as though fully set forth herein.
71, Plaintiff was an employee, protected by Govt. Code §§ 12940(a), which prohibits

discrimination in employment on the basis of gender and Sex.

72,  -Defendants were “employers” within the meaning of Govt. Code § 12926, and as.

} such, were prohibited from discriminating in regard to terms, conditions, or privileges of

employment, including terminations on the basis of race.

. 73. Plaintiff was subjected to disparate treatment and disparate impact by Defendants .

because of her gender, as discussed above, in violation of Govt. Code § 12940(a).
74, Despite Defendants’ actual and/or constructive knowledge of the above

mentioned harassment and discrimination, and with the knowledge of its supervisors and agents,

they failed to take immediate and appropriate corrective action to stop the discrimination.
75. Under Govt. Code § 12940(@), Defendants, at the time of the wrongful conduct

against Plaintiff described herein, knew that it was an “unlawful employment practice,” against

the law and a disregard for Plaintiff's rights, “because of the race, religious creed, color,

national origin, ancestry, physical disability, mental disability, medical condition, marital status, vy

sex, gender, age, or sexual orientation of any person,” to:
(s) .. [Rlefuse to hire or employ the person or to refuse to select the person
. fora training program leading to employment,” or
(6) “... [Bar or to-discharge the person from employment or from a training
program leading to employment, or
(c) _“... [D]iscriminate against the person in compensation or in terms,
. conditions, or privileges of employment.”
76, — Under Govt. Code § 12940(k), Defendants, and each of them, at the
time ofthe wrongful conduct against Plaintiff described herein, knew that it was an “unlawful

“employment practice,” against the law and a disregard for Plaintiff's rights “for an employer...
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" COMPLAINT

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to fail to take all reasonable steps necessary to prevent discrimination and harassment from’
occurring.”
77. Defendants, with malice, oppression, and fraud and in conscious disregard for

Plaintiff's rights under the law, vioiated the Fair Employment and Housing Act (“FEHA”) by .

| discriminating against Plaintiff as set forth throughout this Complaint.

78. - As a result of Defendants’ malicious, oppressive, fraudulent, and despicable . *
violations of FEHA as set forth herein, Plaintiff has suffered and continues to suffer general and

special damages, and the need for ‘punitive damages.

79. « Pursuant to Govt. Code, § 12965(b) and Cal. Civ. P. § 1021. 5, Plaintiff is‘entitled .

to the costs of hiring’ an attomey to pursue recovery for Defendants’ multiple violations of law
as set forth in this complaint and for the litigation costs attendant in prosecuting this lawsuit.

80. The ‘wrongful conduct of Defendants described above was intended by
Defendants, and each of them, to cause injury to Plaintiff and was despicable, mean, and vile
conduct carried on by Defendants, and each of them, with a willful and conscious disregard of
the rights of Plaintiff, subjecting her to cruel and unjust hardship, and was an intentional

| misrepresentation and concealment of material facts known to Defendants with the intent to

deprive Plaintiff of property, legal rights, or to otherwise cause injury, such as to constitute.
tnalice, oppression, and/or fraud under Civil Code § 3294, thereby entitling Plaintiff to punitive
damages in an amount sufficient to punish the Defendants or to make an example of Defendants’

| to prevent such conduct by others.

OURT USE OF ACTION
* Failure to Prevent Discrimination
Violation of Gov. Code § 12940(k)
_——- Platntiff against all Defendants)
81. Plaintiffi incorporates all paragraphs above as though fully set forth herein.
_ 82. Plaintiff was subjected to discrimination and retaliation as set forth above based
on her age, race and gender.
" Defendants were aware of Defendants’ employees’ actions in discriminating
Page 11 .

COMPLAINT .

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, against Plaintiff based on her age, race, and gender. Despite being aware-of the discrimination, ~

Defendants failed to conduct an adequate investigation in regards to said discrimination and
retaliation, or to take any action whatsoever to eliminate and/or remedy that discrimination.
84.-° Therefore Defendants failed to take reasonable steps to prevent Plaintiff from

being unlawfully discriminated against.
85. Under Govt. Code § 12940(k), Defendants, at the time of the wrongful conduct

against Plaintiff described herein, knew that it was an “unlawful employment practice,” against .
the law and a disregard for Plaintiff's rights “for an employer... to fail to take all reasonable
steps necessary to prevent discrimination and harassment from occurring.” , ,

86..  Asaresult of Defendants’ malicious, oppressive, fraudulent, and despicable -
violations of FEHA as set forth herein, Plaintiff has suffered and continues to suffer general and

special damages, and the need-for punitive damages.

. 87. Pursuant to Govt, Code § 12965(b) and Cal. Civ. P. § 1021 .5, Plaintiff is entitled
to the costs of hiring an attorney to pursue recovery for Defendants’ multiple violations of law
as set forth in this complaint and for the litigation costs attendant in prosecuting this lawsuit.

88. ' The wrongful conduct of Defendants described ahove was intended by
Defendants, and each of them, to cause injury to Plaintiff and was despicable, mean, and vile
conduct carried on by Defendants, and each of them, with a willful and conscious disregard of
the rights « of Plaintiff, subjecting her to cruel and unjust hardship, and was an intentional «
misrepresentation and concealment of material facts known to Defendants with the intent to -
deprive Plaintiff of property, ‘legal rights, or to otherwise cause injury, ‘such as to constitute

malice, oppression, and/or fraud under Civil Code § 3294, thereby entitling Plaintiff to punitive

damages in an amount sufficient to punish the Defendants or to make an example of Defendants

to > prevent such conduct by others.

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FIFTH CAUSE OF ACTION

Hostile Work Environment Harassment:

(Plaintiff against all Defendants)

89: Plaintiff incorporates all paragraphs above as though fully set forth herein,
90. ‘As detailed above, Defendants” conduct created a hostile work environment for

Plaintiff, making the conditions of her employment intolerable in direct contravention of various

statutes and state law decisions, including but not limited to Govt. Code § 12940. Defendants
subjected Plaintiff to a hostile work environment harassment based on age, race, and gender.
91, Such harassment was so severe and pervasive that it altered the conditions of

Plaintiff's employment, creating a hostile abusive work environment and thereby endangering

| Plaintiff's physical health and making her working conditions intolerable. Said harassment was

sufficiently extreme to amount to a change in the terms and conditions of Plaintiff's

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employment.
' 99. Asa direct and legal result of Defendants’ conduct, and each of them, Plaintiff

has suffered and continues to suffer general, consequential, and special damages, including but —

not limited to substantial losses in’ eamings, other employment benefits, physical injuries,

physical sickness, as well as emotional distress, plus medical expenses, future medical expenses,

and attorneys’ fees, all to her damage in the amount according to proof.

93. Defendants’ actions justify the imposition of punitive damages in that the actions

were against public policy. Defendants committed the acts alleged herein maliciously,
fraudulently and oppressively, with the wrongful inténtion of injuring Plaintiff, from an
improper and evil motives amounting to malice in conscious disregard of Plaintiff's rights.
SIXTH. CAUSE OF ‘ACTION
Wrongtul Termination in Violation of Public Policy
‘@laintiff against all Defendants)
94, Plaintiff incorporates all paragraphs above-as though fully set forth herein.
95.  Atall times mentioned herein, the public policy of the State of California, as

codified, expressed and mandated i in Govt. Code §§-12940 et seq., is to prohibit employers from

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COMPLAINT

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discriminating, harassing and retaliating against any individual on the basis of age, race and
gender. This public policy of the State of Califoinia is designed to protect all employees and to
promote the welfare and well-being of the community at large. Accordingly Defendants’ actions

in terminating Plaintiff based on her age, race and gender was wrongful and in contravention of

the express public policy of the State of California, namely the policy set forth i in Govt. Code §§ .

12940 et seq. and the laws and regulations promulgated. thereunder.
96. The conduct, statements and acts described herein were an ongoing part of a

continuing scheme and course of conduct. Defendants knew the substance of the above-

described facts and circumstances and ratified the wrongs and injuries mentioned herein when it”

" was in their’ ability to prevent, remedy and/or correct these wrongs. Defendants continued to

ratify and refused to remedy or correct the aforementioned conduct, notwithstanding the fact’
that its officials, supervisors and/or managing agents knew or reasonably should have known,
and know or reasonably should know, of the conduct and its unlawful motivations.

97. Asa proximate result of Defendants’ wrongful acts, Plaintiff has suffered actual,
consequential and incidental financial losses, including without limitation, loss of salary and

‘benefits, and the intangible loss of employment related opportunities in her field and damage to

her professional reputation, all in an amount subject to proof at the time of trial.

98. Plaintiff claims such amounts as damages pursuant to Civil Code § 3287 and/or §
3288 and/or any other provision of law providing for prejudgment interest.

99. Asa proximate result of Defendants’ wrongful acts, Plaintiff has suffered and

° continues to suffer emotional distress, humiliation, mental anguish and embarrassment, as weil

as the manifestation. of physical symptoms. Plaintiff is informed and believes and thereupon
alleges that she will continue to experience said physical and emotional suffering for a period in
the future not presently ascertainable, all in an amount subject to proof at the time of trial.

100. The acts taken toward Plaintiff were carried out by Defendants! officers,
directors, and/or managing agents acting in a despicable, oppressive, fraudulent, malicious,

deliberate, egregious and inexcusable manner and in conscious disregard for the rights of

Plaintiff: Plaintiff's termination was wrongful and justifies the imposition of punitive damages

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COMPLAINT

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because the termination was against public policy. In terminating Plaintiff because of her age,

race and gender, Defendants acted maliciously, fraudulently and oppressively with the wrongful
‘intention ‘of i injuring Plaintiff, ‘Based upon the foregoing, Plaintiff is entitled to recover ‘punitive

damages from Defendants.in an amount according to proof,
SE CAUSE OF ACTION

_ Wrongful Termination in Violation of FEHA
Plaintiff against all Defendants)
101. Plaintiff incorporates all paragraphs above as though fully set forth herein.

102. Atal times mentioned herein, Govt. Code §§ 12940 et seq, were in full force and
| effect and were binding on Defendants, as Defendants regularly employed five (5) or more ,

persons. Govt Code §§ 12940 et seq. provides that it is unlawful for an employer to discharge a

| person from employment or discriminate against them in compensation or as to the terms,

conditions or privileges of employment based on a prohibited employment practice as stated i in-

Govt. Code §§ 12940 (a)-(0). .

103. Defendants terminated Plaintiff because of her age, race and gender, and in doing
so, violated Govt. Code §§ 12940 et seq. (FEHA).
104. The conduct described herein was an ongoing part of a continuing scheme and
course of conduct. Defendants knew the substance of the above-described factsand
circumstances and ratified the wrongs and injuries mentioned herein when it’ was in their ability

to prevent, remedy and/or correct these wrongs. Defendants continued to ratify and refused to

remedy or correct the aforementioned conduct, notwithstanding the fact that its officials,

supervisors and/or managing agents knew or reasonably should have known, and know or
reasonably should know, of the conduct and its unlawful motivations.

* 105. Asa proximate result of Defendants’ wrongful acts, Plaintiff has suffered actual,
consequential and incidental financial losses, including without limitation, loss of salary and

’ benefits, and the intangible loss of employment related opportunities in her field and damage to

her professional reputation, all in an amount subject to proof at the time of trial. Plaintiff claims

such amounts as damages pursuant to Civil Code § 3287 and/or § 3288 and/or any ottier
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provision of law providing for prejudgment interest.

106. Asa proximate result of Defendants’ wrongful acts, Plaintiff has suffered and
eqntinues to suffer emotional distress, humiliation, mental anguish and embarrassment, as well
as the manifestation of physical symptoms. Plaintiff is informed and believes and thereupon '
alleges that she will continue to experience said physical and emotional suffering for a period i in
the future not presently ascertainable, all in an amount subject to proof at the time of trial.

107. Asa proximate result of Defendants’ ‘wrongful acts, Plaintiff has been forced tc to

’ hire attorneys to prosecute her claims herein, and has incurred and is expected to continue to

incur attorneys’ fees and costs in connection therewith. Plaintiff is entitled to recover attorneys’

fees and costs under Govt. Code § 12965(b).
108. .The acts taken toward Plaintiff were carried out by Defendants’ officers,

, directors, and/or managing agents acting in a despicable, oppressive, fraudulent, malicious,

deliberate, egregious and inexcusable manner and in conscious disregard for the rights of

| Plaintiff. Plaintiff's termination was wrongful and justifies the imposition of punitive damages

because the termination was against public policy, -In terminating Plaintiff because of her age,
race and gender, Defendants acted maliciously, fraudulently and oppressively with the wrongful
intention of injuring Plaintiff. Based upon the foregoing, Plaintiff is entitled to recover punitive

damages from Defendants i in an in amount according to proof.

LAY OF A

Retaliation and Wrongful Termination in Violation of
Labor Code § 1102.5 —Whistleblower Protection Act
(Plaintiff against all Defendants) |
109. Plaintiff incorporates all paragraphs above as though fully set forth herein. -

"110. ‘At all times set forth in this Complaint, Plaintiff was an employee of Defendants

and was protected by Califomia Labor Code § 1102.5.
111. At all times set forth i in this Complaint, California Labor Code. ‘§ 1102.5 was in

effect and provides, in part, that:

(a). Anemployer may not make, adopt, or enforce any rule, regulation, or
Page 16 :

~ COMPLAINT

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policy preventing an employee from disclosing information to a government or

law enforcement agency, where the employee has reasonable cause to believe

that the information discloses a violation of state or federal statute, or a violation .

or noncompliance with a state or federal rule or regulation,
(bo) An employer may not retaliate against an employee for disclosing information to
og government or law enforcement agency, where the employee has reasonable
cause to believe that the information discloses a violation of state or federal:
statute, or a violation or noncompliance with a state or federal rule or regulation.

(c) Anemployer may not retaliate against an employee for refusing to participate in

an activity that would result in a violation of state or federal statute, or a violation «

| or noncompliance with a state or federal rule or regulation.
(d) Anemployer may not retaliate against an employee for having exercised his or
her rights under subdivision (a), (b), or (c) in any former employment.
112, ‘ As detailed above, Plaintiff reported age, race and gender discrimination to

| Defendants. Plaintiff also reported Defendants’ employees possession of child pornography.

113. Plaintiff had reasonable cause to believe that the:information disclosed was a

violation of state and/or federal laws, rules; and/or regulations.

* 114. _ Shortly after Plaintiff disclosed the unlawful activity, and as detailed above,
Defendants maintained a hostile work environment barassment against Plaintiff, and terminated

Plaintiff's employment.

115. Plaintiff's reporting/disclosing of the unlawful activity was the cause of.

Defendants’ maintaining a hostile work environment harassment against Plaintiff, and
| terminating Plaintiff's employment,

116.. By maintaining a hostile work environment harassment against Plaintiff, and _
terminating Plaintiff's employment, and as otherwise may be discovered, Defendants violated
California Labor Code § 1102.5. ,

117. Defendants acted with malice, oppression, and fraud and in conscious disregard

for Plaintiff's rights under the law, by violating Labor Code § 1102.5, et seq. as is set forth
‘Page 17

COMPLAINT _

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500 Sout GRAND AVENUE, Surre 1490

Case 5:18-cv-00908-JGB-SHK Document 1-1 Filed 04/30/18 Page 25 of 35 Page ID #:34

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1 || throughout thig Cémplaint,
2 118. As a direct and proximate result of Defendants’ malicious, oppressive,
3 {| fraudulent, and despicable violations of Labor Code § 1102.5, et seq, as set forth herein,
4 || Plaintiff has suffered and continues to suffer general and special damages, the’ need for punitive
‘"5 || damages, including, but not limited to the following: , a
6 (a)  Daniages for severe, excruciating and traumatic emotional distress and
7 physical : manifestations of the emotional distress and exacerbation of
8 those injuries and symptoms, ulcers, loss of identity, tightness i in chest,
"9 humiliation, crying daily, grief, nervousness, anger, shame, feeling
10 trapped, frustration, frightening questions that plague her mind, anxiety,
11 depression, headaches, breathing problems, panic attacks, suffocation
12 feeling, dizziness, nausea, disorientation, trouble concentrating, sorrow,

worry, low self-esteem, hopelessness, bad dreams about Defendants,

wu

insomnia, hair loss, the stigma about being terminated, loss of and
damage to close relationships, and related emotional and mental anguish
all in an amount to be determined by the jury at the trial of this matter;

LOS ANGELES, CALIFORNIA 90071
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16]
17 () Damages for past loss of earnings, bonuses and benefits, in spite of
, 18 continuing attempts at mitigating damages, with such damages increasing

. 19 each day, plus interest in an amount to be determined by the jury. at the ‘
° 20 trial of this matter;

2i (c} Damages for future loss of earings, “boriises and benefits, in spite of

22 continuing attempts at mitigating damages, in an amount to be determined

23 - by the jury at the trial of this matter;

24 (4) Damages for consequential financial losses and additional emotional

25 distress damages, increasing with each day, including, but not limited to,
. 26 the inability to timely pay bills resulting in fees and penalties for failure
27 to pay timely, loss of 401(K), financial penalties, personal loans,

28 harassing communications from bill collectors, and other consequential

Page 18
COMPLAINT

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losses all of which have put extreme pressure on her life, family, and
other treasured relationships, inflaming anxiety and arguments and
‘causing further severe emotional distress in an amount to be determined
by the jury.at the trial of this matter; and
(e) The wrongful conduct of Defendants described above was intended by
_- Defendants, and each of them, to cause injury to Plaintiff and was
despicable, mean, and vile conduct carried on by Defendants with a
* willful and conscious disregard of the rights of Plaintiff, subjecting her to
cruel and unjust hardship, and was an intentional misrepresentation and
concealment of material facts known to Defendants with the intent to
deprive Plaintiff of property, legal rights, or to otherwise cause injury,
such as to constitute malice, oppression, and/or fraud under Civil Code §
3294, thereby entitling Plaintiff to punitive damages in an amount .
sufficient to punish the Defendants or to make an example of Defendants
_ ‘to prevent such conduct by others.
NINTH CAUSE OF ACTION
Violation of California Labor Code § 1197.5—Equal Pay Act
(Plaintiff and Class against all Defendants)
119. Plaintiff incorporates all paragraphs above as though fully set forth herein.
120. California Labor Code’§ 1197.5(a) provides that “An employer shall not pay any
of its employees at wage rates less than the rates paid to employees of the opposite sex for

substantially similar work, when viewed as a composite of skill, effort, and responsibility, and

- performed under similar working conditions...”

121. Califorifa Labor Code § 1197.5—California’s Equal Pay Act—prohibits an
employer from paying its employees less than employees of the opposite sex for equal work.
- 192: As detailed above, Defendants paid Plaintiff less than her younger white

teammates because she is an older black woman.

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COMPLAINT

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Case 5:18-cv-00908-JGB-SHK Document1-1 Filed 04/30/18 Page 27 of 35 Page ID #:36

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-Los ANGELES, CALIFORNIA 90071

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123. Defendants’ ‘conduct violates California's Labor Code § 1197.5 and the Equal ,
Pay Act. ) ,
PRAYER FOR RELIEE

Plaintiff prays for judgment against Defendants as follows:

1. + For actual damages, including loss of past and future earnings, in an amount
according to proof at trial; on

2. For general and special damages, including but not limited to, pain and suffering,
emotional distress, and loss of reputation in an ammount according to proof at trial;

3. For consequential and incidental damages and expenses in an amount according

. to proof at trial;

4, For punitive damages in an amount according to proof at trial;
5. For general unpaid wages and such genéral and special damages as may be

appropriate;
6. For pre-judgment interest on any uipaid compensation commencing from the
date such amounts were due;

7. + For liquidated damages;
8. For statutory wage penalties;
9. For reasonable attorneys’ fees according to proof at trial;
10. For pre-judgment and post-judgment i interest, all at the legal prevailing rate;
11. For costs of suit; and
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Page 20

COMPLAINT *

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Case 5:18-cv-00908-JGB-SHK Document 1-1 Filed 04/30/18 Page 28 of 35 Page ID #:37

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500 SOUTH GRAND AVENUE, SUITE 1490

Los ANGELES, CALIFORNIA 90071

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12. - For such other and further relief as the court may deem just, proper, and

equitable.

Respectfully Submitted,

Dated: March 2-2-2018 | MATHEW & GEORGE

Son

Sang J Park\

_ Attomeys for Plaintiff

Plaintiff hereby respectfully demands'a jury trial.

Respectfully Submitted, -

Dated: March 2-2-2018 MATHE TT,

° Sag Pak \

- Attomeys for Plaintiff

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COMPLAINT

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EXHIBIT B
Case 5:18-cv-00908-JGB-SHK Document 1-1 Filed 04/30/18 Page 30 of 35 Page ID #:39

OGLETREE, DEAKINS, NASH
SMOAK & STEWART, P.C

2415 EAST CAMELBACK ROAD, SUITE 800

PHOENIX, ARIZONA 85016

1 | Mark G. Kisicki, CA SBN 150057
5 | OGLETREE, DEAKINS, NASH, SMOAK &
STEWART, P.C., SBN 00504800
3 || Esplanade Center II, Suite 800
2415 East Camelback Road
4] Phoenix, Arizona 85016
5 | Telephone: (602) 778-3700
Fax: (602) 778-3750
6 | mark.kisicki@ogletree.com
Attorneys for Defendant General Dynamics Mission Systems, Inc.
8
9 SUPERIOR COURT OF THE STATE OF CALIFORNIA
10 IN AND FOR THE COUNTY OF SAN BERNARDINO
11
12 | MARILYN ENGLISH, an individual, Case No. CIVDS1806907
13 Plaintiff, ANSWER TO PLAINTIFEF’S
14 COMPLAINT
VS.
15 Action Filed: 3/23/2018
GENERAL DYNAMICS MISSION Trial Date: | None Set
16 | SYSTEMS, INC., a Delaware corporation; Judge: Hon. Donna Garza
7 and Does | to 10,
18 Defendants.
19
20 Defendant General Dynamics Mission Systems, Inc. (“GDMS”) answers the
21 | Complaint filed by Marilyn English as follows:
22 GENERAL AND SPECIFIC DENIALS
23 Pursuant to California Code of Civil Procedure § 431.30(d), GDMS denies generally
24 | and specifically every allegation in the Complaint and further denies that Plaintiff has
25 || sustained damages in any sum or manner. GDMS further denies, generally and specifically,
26 | that Plaintiff is entitled to any relief.
27
28

ANSWER TO PLAINTIFF’S COMPLAINT
CASE NO. CIVDS1806907

OGLETREE, DEAKINS, NASH,
SMOAK & STEWART, P.C.
2415 East CAMELBACK ROAD, SUITE 800

PHOENIX, ARIZONA 85016

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AFFIRMATIVE DEFENSES

Without waiving or excusing Plaintiffs burdens of proof and production of evidence
or admitting that it carries the burden of proof as to any of the issues raised in the Complaint,
GDMS asserts the following separate and independent defenses and prays for judgment as
set forth below. GDMS further gives notice that it intends to rely upon such additional
defenses as may become available during discovery and reserves the right to amend its
Answer to assert any such defenses:

FIRST AFFIRMATIVE DEFENSE

Plaintiff's Complaint, and every cause of action it asserts, fails to allege facts
sufficient to state a cause of action against GDMS upon which relief can be granted.

SECOND AFFIRMATIVE DEFENSE

Plaintiff is barred from seeking damages for physical, mental, and emotional injuries
allegedly suffered because of her employment or the termination of her employment because
her sole and exclusive remedy for any such purported injuries is California’s Workers
Compensation Act, California Labor Code §§ 3600 ef seq.

THIRD AFFIRMATIVE DEFENSE

GDMS alleges, on information and belief, that Plaintiff has failed to take reasonable
steps to mitigate her damages, if any. Accordingly, Plaintiff is barred from recovering any

damages, or any recovery of damages must be reduced.

FOURTH AFFIRMATIVE DEFENSE

Plaintiff's Complaint, to the extent that it seeks punitive damages, violates GDMS’s
right to protection from “excessive fines” as provided in the Eighth Amendment of the
United States Constitution and in Article I, Section 17 of the Constitution of the State of
California and its right to procedural due process under the Fifth and Fourteenth
Amendments to the United States Constitution and under the California Constitution and,

therefore, fails to state a cause of action upon which punitive damages may be awarded.

ANSWER TO PLAINTIFF’S COMPLAINT
CASE NO. CIVDS 1806907

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FIFTH AFFIRMATIVE DEFENSE

To the extent Plaintiff seeks punitive damages in this action, such damages are not
recoverable as neither GDMS nor any of its officers, directors, or managing agents
committed any alleged oppressive, fraudulent, or malicious acts, authorized or ratified such
an act, had advance knowledge of the unfitness, if any, of the employee or employees, if
any, who allegedly committed such acts, or employed any such employee or employees with
a conscious disregard of the rights or safety of others as required by California Civil Code §
3924(b).

SIXTH AFFIRMATIVE DEFENSE

Plaintiff's claims are barred because all decisions regarding her employment,
including the decision to terminate her employment, were made for legitimate, non-
discriminatory, and non-retaliatory reasons and/or business purposes.

SEVENTH AFFIRMATIVE DEFENSE

Plaintiffs claims are barred by the doctrine of avoidable consequences and because
GDMS exercised reasonable care to prevent and promptly correct any unlawful behavior
including, but not limited to, having in place appropriate policies and procedures and taking
appropriate actions based on those policies and procedures. Any action GDMS allegedly
took or did not take that harmed Plaintiff was due to Plaintiff's unreasonable failure to take
advantage of those policies and procedures.

EIGHTH AFFIRMATIVE DEFENSE

To the extent Plaintiff is attempting to base her claims on acts or occurrences outside
of the applicable statutes of limitations, Plaintiffs claims are barred, in whole or in part.

NINTH AFFIRMATIVE DEFENSE

Plaintiff's Complaint, and every cause of action it asserts, is barred to the extent that
Plaintiff has failed to satisfy the statutory prerequisites to sue and exhaust all administrative

remedies.

ANSWER TO PLAINTIFF’S COMPLAINT
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2415 EAST CAMELBACK ROAD, SUITE 800

PHOENIX, ARIZONA 85016

Case 5:18-cv-00908-JGB-SHK Document 1-1 Filed 04/30/18 Page 33 of 35 Page ID #:42

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TENTH AFFIRMATIVE DEFENSE

Plaintiffs Complaint is barred because Plaintiff failed to comply with the mandatory
dispute resolution process to which she and GDMS agreed.

ELEVENTH AFFIRMATIVE DEFENSE

To the extent Plaintiff alleges that she suffered harm based on conduct that occurred
outside of the State of California, Plaintiff's claims are barred because California law does
not apply, and/or because California law is preempted by federal law, other states’ laws,
and/or the law of foreign jurisdictions.

TWELFTH AFFIRMATIVE DEFENSE

Plaintiff's Complaint is barred to the extent that GDMS discovers evidence after
Plaintiffs termination that would have resulted in Plaintiff's termination at that later time.

THIRTEENTH AFFIRMATIVE DEFENSE

Plaintiff is barred from recovering penalties from GDMS for its alleged willful failure
to pay wages because there is a good faith dispute as to whether any amounts are owed to
Plaintiff and if any amounts are owed, what amounts are owed to Plaintiff.

PRAYER FOR RELIEF

GDMS pray for relief as follows:

1. That Plaintiffs Complaint be dismissed in its entirety and with prejudice;

2. That Plaintiff take nothing by this action and that judgment be entered against
Plaintiff and in favor of GDMS;

3. That GDMS be awarded all costs and attorneys’ fees incurred in defending
this action; and

4, That GDMS be granted such other and further relief as the Court may deem

just and proper.

DATED this 30th day of April 2018.

ANSWER TO PLAINTIFF’S COMPLAINT
CASE NO. CIVDS1806907

OGLETREE, DEAKINS, NASH,

SMOAK & STEWART, P.C.
2415 EAST CAMELBACK ROAD, SUITE 800

PHOENIX, ARIZONA 85016

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OGLETREE, DEAKINS, NASH,
SMOAK & STEWART, P.C.

& u f ’
By: Marte by. Aver hea
Mark G. Kisicki
2415 East Camelback Road, Suite 800

Phoenix, Arizona 85016
Attorneys for Defendant

ANSWER TO PLAINTIFF’S COMPLAINT
CASE NO. CIVDS1806907

OGLETREE, DEAKINS, NASH,

SMOAK & STEWART, P.C.
2415 EAST CAMELBACK ROAD, SUITE 800

PHOENIX, ARIZONA 85016

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PROOF OF SERVICE
Marilyn English v. General Dynamics Mission Systems, et al.
Case No. CIVDS1806907

I am a resident of, or employed in the County of Maricopa, State of Arizona. I am

over the age of 18 and not a party to this action. My business address is: Ogletree, Deakins,
Nash, Smoak & Stewart, P.C., Esplanade III, Suite 800, 2415 East Camelback Road,
Phoenix, Arizona 85016.

On April 30, 2018, I served the following document(s), by method indicated below,

on the parties in this action:

ANSWER TO PLAINTIFF’S COMPLAINT

by placing [_] (the original) xX] (a true copy thereof) in a sealed envelope addressed to:

Abraham Mathew

Jacob George

Sang J. Park

Mathew & George

500 South Grand Avenue, Suite 1490

Los Angeles, CA 90071

Tel: 310-478-4349

Fax: 310-478-9580

Email: abraham@mathewandgeorge.com
jacob@mathewandgeorge.com
sang@mathewandgeorge.com

Attorn

ENGLI.

ous for Plaintiff MARILYN
HT

BY MAIL: I placed the envelope for collection and mailing, following our ordinary
business practices. I am readily familiar with the practice of Ogletree, Deakins, Nash,
Smoak & Stewart, P.C.’s practice for collecting and processing correspondence for
mailing. On the same day that correspondence is placed for collection and mailing,
it is deposited in the ordinary course of business with the United States Postal Service,
in a sealed envelope with postage fully prepaid.

I declare under penalty of perjury under the laws of the State of California that the

above is true and correct. Executed on April 30, 2018 in Phoenix, AZ.

ve Ce At mSOre-

Susan Stimson

ANSWER TO PLAINTIFF’S COMPLAINT
CASE NO. CIVDS1806907

